                                       Case 3:19-cv-03674-WHA Document 210 Filed 11/22/21 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   THERESA SWEET, et al.,
                                  11                 Plaintiffs,                          No. C 19-03674 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   MIGUEL CARDONA, et al.,                            NOTICE RE CLASS-MEMBER
                                                                                          COMMUNICATION
                                  14                 Defendants.

                                  15

                                  16

                                  17        The Court has received an ex parte communication from a class member regarding this

                                  18   action. The Court will not yet place this message on the public record. Should they wish, both

                                  19   sides are invited to come to the Court and review the communication in chambers.

                                  20

                                  21   Dated: November 22, 2021.

                                  22

                                  23
                                                                                            WILLIAM ALSUP
                                  24                                                        UNITED STATES DISTRICT JUDGE
                                  25

                                  26
                                  27

                                  28
